                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                             DOCKET NO. 3:07-cr-61-6 FDW


 UNITED STATES OF AMERICA,                     )
                                               )
                  v                            )
                                               )
 ALONZO LEE JOHNSON                            )                  ORDER
                                               )
                                               )
               Defendant.                      )


       THIS MATTER is before the Court on Defendant’s pro se motion (Doc # 520) for “further

reduction” of his sentence pursuant to 18 U.S.C. § 3582(c)(2). Defendant’s motion is DENIED.

The defendant was sentenced under the new guidelines, therefore, he does not warrant a further

reduction.

       IT IS SO ORDERED.

                                              Signed: March 22, 2010




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